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                EXHIBIT
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                              )
 MAKE THE ROAD STATES, INC.,                  )                   No. 2:25-cv-02938
 NAACP BUCKS COUNTY BRANCH                    )
 2253, BUXMONT UNITARIAN                      )
 UNIVERSALIST FELLOWSHIP,                     )
 and JUAN NAVIA,                              )
                                              )
           Plaintiffs,                        )
                                              )
           v.                                 )
                                              )
 FREDERICK A. HARRAN,                         )
 individually and in his official             )
 capacity as Sheriff of Bucks County,         )
 and BUCKS COUNTY,                            )
                                              )
                    Defendants.               )

                     DECLARATION OF ARIEL SHAPELL
          IN SUPPORT OF PETITION FOR AWARD OF ATTORNEY’S FEES

       I, Ariel Shapell, am one of the attorneys of record for the plaintiffs in the above-

captioned case. I make the following declaration upon my personal knowledge:

1.     This declaration is submitted in support of Plaintiffs’ Petition for Attorneys’ Fees.

2.     I am a Staff Attorney of the ACLU of Pennsylvania, where I have worked as an attorney

       since September 2021.

3.     I graduated from the University of Pennsylvania Carey Law School in 2021 and earned

       my undergraduate degree from Washington University in St. Louis.

4.     I certify that the attached time sheets, which are incorporated by reference, were prepared

       contemporaneously and maintained in the ordinary course of business.

5.     The hours we have billed in this case are fair and reasonable and were necessarily

       incurred in the successful prosecution of this case.


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6.    Only the time spent on this case that could reasonably be billed to a private client has

      been included.

7.    Based on my experience and standing in the bar, I believe that the requested rate of $315

      per hour is fair and reflects the prevailing community rate for civil rights lawyers of

      comparable skill and experience.

8.    I am currently admitted to practice in Pennsylvania and in the United States District

      Courts for the Eastern and Western Districts of Pennsylvania.

9.    I am a salaried employee of the ACLU of Pennsylvania, a nonprofit, nonpartisan

      organization dedicated to defending and protecting our individual rights and personal

      freedoms. We do not charge our clients, and have not done so in this case.

      Consequently, I am subject to the “community market rate rule” for determining my fee

      rate.

10.   My hourly rate of $315 per hour reflects the community market rate for attorneys of

      comparable skill and experience. This rate is based on knowledge of rates charged by

      legal nonprofits in Philadelphia with similar levels of experience and educational

      backgrounds.

11.   My total billable hours for the U.S. District Court proceedings in this case are 4.45. The

      total amount (lodestar), as calculated by multiplying the hours times the prevailing billing

      rate of $315, is $1,401.75.

12.   For the foregoing reasons, I believe that my requested hourly rate of $315 is fair,

      reasonable, and well within the scope of rates given to federal court litigators with similar

      experience, skill, and standing in the Philadelphia legal community.




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I declare under penalty of perjury that the foregoing is true and correct.




Dated: July 1, 2025                                    Respectfully submitted,

                                              By: /s/ Ariel Shapell

                                                      Ariel Shapell (No. 330409)
                                                      AMERICAN CIVIL LIBERTIES UNION
                                                      OF PENNSYLVANIA
                                                      P.O. Box 60173
                                                      Philadelphia, PA 19102
                                                      215-592-1513
                                                      ashapell@aclupa.org




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Make the Road v. Harran – Ariel Shapell Attorney Time - E.D. Pa.
Hourly Rate = $315

 Date       Description                                            Time       Amount
 06/09/2025 Performing legal research on Defendant Harran's               0.5 $ 157.50
            failure to seek consent for removal from Defendant
            Bucks County.
 06/11/2025 Reviewing and revising remand briefing.                       0.3    $      94.50
 06/11/2025 Legal Team Discussion re: Remand Motion strategy              0.3           94.50


 06/16/2025 Preparing for and participating in status conference          0.6   $    189.00
            on remand motion.

 06/18/2025 Discussing status of remand motion with clients.              0.5   $    157.50
 06/24/2025 Reviewing and revising remand reply brief.                    2.4   $    756.00



 TOTAL                                                                    4.6    $1,449.00




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